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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

WILLIE MENARDO MCKINNON,
    Plaintiff,

vs.                                          Case No.: 3:18cv1191/LAC/EMT

B. HULLETT, et al.,
     Defendants.
__________________________/
                                    ORDER
       The Chief Magistrate Judge filed a Report and Recommendation on February

20, 2020 (ECF No. 133). The parties were furnished a copy of the Report and

Recommendation and afforded an opportunity to file objections pursuant to Title

United States Code, Section 636(b)(1). No objections have been filed.

       Having considered the Report and Recommendation, I have determined it

should be adopted.

       Accordingly, it is ORDERED:

       1.    The Chief Magistrate Judge’s Report and Recommendation (ECF No.

133) is adopted and incorporated by reference in this order.

       2.    Defendants’ motion for summary judgment (ECF No. 125) is

GRANTED IN PART AND DENIED IN PART as follows:
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              a.     Defendants’ motion for summary judgment is GRANTED as to

Plaintiff’s claims against Defendants Gaskins, Jones, and Clemmons;

              b.     Defendants’ motion for summary judgment is DENIED as to

Plaintiff’s claims for monetary damages against Defendants Tuttle, Jackson, Hullett,

Scheier, and Carrico in their individual capacities based upon their 30–40-minute

delay in taking Plaintiff for initial medical treatment;

              c.     Defendants’ motion for summary judgment is GRANTED as to

Plaintiff’s claims for monetary damages against Defendants Tuttle, Jackson, Hullett,

Scheier, and Carrico in their individual capacities based upon their conduct after

they took Plaintiff for initial medical treatment;

              d.     Defendants’ motion for summary judgment is GRANTED as to

Plaintiff’s claims for monetary damages against Defendants in their official

capacities;

              e.     Defendants’ motion for summary judgment is GRANTED as to

Plaintiff’s claims for a permanent injunction;

       3.     This case is recommitted to the Chief Magistrate Judge for pre-trial

proceedings on Plaintiff’s claims for monetary damages against Defendants Tuttle,



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Jackson, Hullett, Scheier, and Carrico in their individual capacities based upon their

30–40-minute delay in taking Plaintiff for initial medical treatment.

       DONE AND ORDERED this 20th day of March, 2020.




                                 s /L.A. Collier
                                 LACEY A. COLLIER
                                 SENIOR UNITED STATES DISTRICT JUDGE




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